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              EXHIBIT A
Tarrant County - Civil                                                                                                  Page 1 of 1

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  Civil - Case and Transaction Information                                                                        10/12/17 10:25 AM
  Cause Number:                096-293963-17                                                                   Date Filed: 08-17-2017
                 REBECCA ANN FULTS                                                         ALLSTATE COUNTY MUTUAL
                                                                  | VS |
                                                                                               INSURANCE COMPANY
  Cause of Action:             OTHER CIVIL, ANTITRUST/UNFAIR COMPENSATION
  Case Status:                 PENDING
  File Mark      Description                                                                    Assessed Fee         Credit/Paid Fee
  08-17-2017 PLTF'S ORIG PET (W/CIVIL CASE INFO SHEET)                             N I                  284.00
  08-17-2017 COURT COST (PAID) trans #1                                            Y                                      284.00
  08-17-2017 SERVICE REQ FORM (EMAIL)                                              I                                         0.00
  08-17-2017 JURY FEE                                                              N                     40.00
  08-17-2017 COURT COST (PAID) trans #4                                            Y                                       40.00
  08-17-2017 CIT-ISSUED ON ALLSTATE COUNTY MUTUAL INSURANCE N                            Svc              8.00
              COMPANY-On 08/21/2017
  08-17-2017 COURT COST (PAID) trans #6                                            Y                                         8.00
  10-02-2017 CIT RETURN/ALLSTATE COUNTY MUTUAL INS COMPANY I                                                                 0.00
  10-02-2017 CIT Tr# 6 RET EXEC(ALLSTATE COUNTY MUTUAL                             I                                         0.00
              INSURANC E COMPANY) On 09/19/2017

                                                       District Clerk's Office
                                               Tom Vandergriff Civil Courts Building
                                 100 N. Calhoun St., 2nd Floor, Fort Worth, Texas 76196, Contact Us
                 Please send questions and comments regarding the District Clerk web site to District Clerk Webmaster




https://egov.tarrantcounty.com/group/dc/civil?p_p_id=subscriberAccessCivil_WAR_subs... 10/12/2017
            Case 4:17-cv-00824-Y Document 1-1 Filed 10/13/17                                                                  Page 3 of 34 PageID 7
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                                                                                                                                              TARRANT COUNTY
                                                                                                                                               8/17/2017 4:04 PM
                                                                                      CAUSE NO.096-293963-17
                                                                                                _ _ _ __                                     THOMAS A. WILDER
                                                                                                                                                DISTRICT CLERK


REBECCAANNFULTS,                                                                                                  §    IN THE DISTRICT COURT OF
                                                                                                                  §
                  Plaintiff,                                                                                      §
                                                                                                                  §
v.                                                                                                                §    TARRANT COUNTY, TEXAS
                                                                                                                  §
ALLSTATE COUNTY MUTUAL                                                                                            §
INSURANCE COMPANY,                                                                                                §
                                                                                                                  §
                  Defendant.                                                                                      §      JUDICIAL DISTRICT

                                                             PLAINTIFF'S ORIGINAL PETITION

TO THE HONORABLE JUDGE OF SAID COURT:

                  NOW COMES REBECCA ANN FULTS ("Ms. Fults"), Plaintiffherein, and

files this suit against Defendant, Allstate County Mutual Insurance Company,

and in support of her claim, would respectfully show the Court as follows:

                                                                                                                  I.

                                                    DISCOVERY AND PLAINTIFF'S JURY DEMAND

                  Discovery should be conducted in accordance with a discovery control

plan under Rule 190.3 of the TEXAS RULES OF CIVIL PROCEDURE.

                  Plaintiff hereby demands a jury trial and has tendered the appropriate jury

fee.




PLAINTIFF'S ORIGINAL PETITION                                                                                                                 Page 1
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            Case 4:17-cv-00824-Y Document 1-1 Filed 10/13/17                                                         Page 4 of 34 PageID 8



                                                                                                              II.

                                                                     PARTIES AND SERVICE OF CITATION

                   2.01 Plaintiff, Rebecca Ann Fults, is an individual who resides in Tarrant

County, Texas, and resided in Tarrant County, Texas, at all material times

mentioned herein.

                   2.02 Defendant, Allstate County Mutual Insurance Company, is an

insurance company who may be served with process by serving its agent for

service of citation, C T Corporation System, 1999 Bryan Street, Suite, 900,

Dallas Texas 75201-3136.

                                                                                                              III.

                                                                                    JURISDJCTlON AND VENUE

                  3.01 This Court has jurisdiction of this matter, as the amount m

controversy exceeds the minimum jurisdictional limits of this Court.

                  3.02 Venue is proper in Tarrant County, Texas, pursuant to TEX. CIV.

PRAC. & REM. CODE § 15.002(a)(1), because all or a substantial part of the

events or omissions giving rise to the claims set out herein occurred in Tarrant

County. The accident referenced herein which is a part of the basis ofMs. Fults'




PLAINTIFF'S ORIGINAL PETITION                                                                                                         Page 2
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     Case 4:17-cv-00824-Y Document 1-1 Filed 10/13/17    Page 5 of 34 PageID 9



claim occurred in Tarrant County, Texas, as did the inappropriate actions of

Defendant, Allstate County Mutual Insurance Company.

                                       IV.

                               UNDERLYING FACTS

A.     Ms. Fults' Accident of 4/16/13 at the Hands of Allstate's Insured,
       Nathan Henslee, Who Was Intoxicated at the Time and Negligently
       Struck Ms. Fults' Automobile and Ran

       4.01 On April16, 2013, Rebecca Fults was the victim of a hit-and-run

accident at the hands of Allstate's insured, one Nathan Henslee. The accident

occurred in the 1300 block of Henderson Street in Fort Worth, Texas, at the

intersection of 900 El Paso.

       4.02 Ms. Fults was driving her mother's car at the time, which was a

2001 Toyota Camry So lara. At the date and time in question, Mr. Henslee turned

and violently crashed into Ms. Fults' Toyota Camry So lara with his Chrysler PT

Cruiser and immediately left the scene. Ms. Fults since learned that Mr. Henslee

was intoxicated at the time of the accident and was arrested for DWI. Mr.

Henslee also fled the scene of the accident. A true and correct copy of the police

report is attached hereto and incorporated herein for all intents and purposes and

marked as Exhibit "1."



PLAINTIFF'S ORIGINAL PETITION                                              Page 3
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                   4.03 There is no dispute and there has never been any dispute about the

cause of the accident in question. The accident was completely the fault of

Nathan Henslee, who, as set out above, was intoxicated at the time he crashed

into Ms. Fults' car.

                  4.04 Ms. Fults suffered injuries as a result of the accident, including but

not limited to, significant personal injuries, as well as significant damage to her

automobile.

B.                Ms. Fults' Attempts to Settle Her Claim with Allstate

                  4.05 After the accident, Ms. Fults learned that Nathan Henslee was

insured by Allstate. Accordingly, Ms. Fults and her father attempted to resolve

her claim for damages voluntarily with Allstate. As indicated above, there was

never a dispute as to the cause of the accident, thereby making voluntary

resolution of the matter the logical step for Ms. Fults.

                  4.06 Ms. Fults and her father first tried to settle the property damage

portion of the accident (damage to Ms. Fults' car) for a reasonable sum by

offering to do so with Allstate. Allstate refused, despite its obviously liability,

thereby forcing the Fults to file a claim in Small Claims Court against Nathan

Henslee, which was resolved in favor of the Fults for the amount of their



PLAINTIFF'S ORIGINAL PETITION                                                                                          Page 4
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         Case 4:17-cv-00824-Y Document 1-1 Filed 10/13/17                                   Page 7 of 34 PageID 11



 previous claim made to Allstate. To be clear, it was only then (after forcing the

Fults to file a claim in Small Claims Court) that Allstate paid the property

damage to Ms. Fults' mother's car. This was but the first of Allstate's

 inappropriate, inexcusable, and bad-faith actions in connection with Ms. Fults'

claim.

                 4.07 After finally resolving the property damage claim to the Fults' car

against Allstate by having to go to Small Claims Court, Ms. Fults then attempted

to resolve her bodily injury liability claim with Allstate, with the assistance of

her father.

                4.08 On April 14, 2014, Ms. Fults sent a written communication to

Allstate's office in Irving, Texas. In that communication, Ms. Fults offered to

settle her bodily injury claim against Allstate for a sum within the available

limits of Mr. Henslee's policy. At that time, it remained clear that Allstate's

insured was at fault in the accident and Allstate knew that. Ms. Fults clearly

indicated to Allstate in that communication that she had incurred $15,268 in

medical expenses directly related to the accident, lost 200+ hours of work,

which was delivering pizzas at that time, and had logged over 500 miles for

appointments and many hours performing daily physical therapy exercises



PLAINTIFF'S ORIGINAL PETITION                                                                                Page 5
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             Case 4:17-cv-00824-Y Document 1-1 Filed 10/13/17                                                                  Page 8 of 34 PageID 12



 which were caused as a result of Allstate's insured's action. She conservatively

 estimated her lost work at more than $3,000 and her mileage at over $300. Ms.

Fults' communication to Allstate was clear. She offered to resolve the case and

provide a complete release of the liability against Allstate's insured, Mr.

Henslee. At the time, Ms. Fults had incurred the sum of $15,268 medicals,

$3,000 lost wages, and $300 car mileage. Because Ms. Fults was unaware of the

limits of Allstate's policy insuring Mr. Henslee at the time (because Allstate

refused to disclose that to Ms. Fults), the demand made to Allstate was to settle

her bodily injury claim for "all available limits of his policy." Ms. Fults also

indicated to Allstate that she would calendar her file for fourteen days and await

its response.

                       4.09 Instead of resolving the claim as it should have for the reasonable

demand made, Allstate further delayed and failed and refused to settle the claim

within the policy limits within a reasonable amount of time. Allstate refused to

disclose the limits ofMr. Henslee's policy and sent a letter to Ms. Fults on April

17, 2014, acknowledging her April 14th letter, and indicating that they would

review her medical bills, records, and diagnosis, but asserting that "the file

excluded information related to the loss of income." Allstate then asked Ms.



PLAINTIFF'S ORIGINAL PETITION                                                                                                                   Page 6
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           Case 4:17-cv-00824-Y Document 1-1 Filed 10/13/17                                                        Page 9 of 34 PageID 13



 Fults to provide the "medical note of disability" on their letterhead and to

 "verify the loss of income with [her] employer."

                     4.10 Ms. Fults responded to Allstate's letter with an April 25, 2014

 written communication that complied with Allstate's request.                                                                        That

 communication specifically provided the information that Allstate asked to

 receive. It provided information concerning her lost income and medical

expenses and injuries. Ms. Fults also clearly indicated to Allstate at the time that

such was all she had and that the information was responsive to Allstate's

request. Since Allstate did not ask for any additional time, Ms. Fults continued

to calendar April 30 as the date by which Allstate should respond. Again,

Allstate delayed and refused to deal in good faith with Ms. Fults' offer to

resolve her claim.

                    4.11 Instead of resolving the claim for the amount Ms. Fults had

demanded, as it should have-an amount within the policy limits of the policy

it had issued to Henslee, it sent two separate communications to Ms. Fults on

May 13 and May 14 acknowledging she had requested a settlement offer, but

refusing to resolve the claim. The insult to Ms. Fults' injury was completed with




PLAINTIFF'S ORIGINAL PETITION                                                                                                       Page 7
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     Case 4:17-cv-00824-Y Document 1-1 Filed 10/13/17     Page 10 of 34 PageID 14


Allstate's May 141h letter, which Allstate wrote Ms. Fults, offering to settle for

$5,117, which was less than Ms. Fults' medical expenses.

        4.12 Allstate also continued to fail and refuse to disclose the limits ofMr.

Henslee's policy and failed and refused to settle the claim within the policy

limits within a reasonable period of time after given the opportunity to do so.

C.      Ms. Fults' Lawsuit Against Mr. Henslee and Resulting Judgment

        4.13 Because Allstate had failed and refused to settle her claim, Ms. Fults

then engaged the undersigned counsel and sued Nathan Henslee to recover the

damages occasioned to her by Mr. Henslee's accident. The case was filed in the

67th Judicial District Court under Cause No. 067-275588 on November 14,

2014.

        4.14 Nathan Henslee was eventually served with process in the suit, as

indicated by the return of service on file in the 67th Judicial District Court. A

true and correct copy of the appropriate return of service is attached hereto and

incorporated herein and marked as Exhibit "2." Despite being served with

process, Mr. Henslee failed and refused to answer and fell into default.

        4.15 As a result of her suit, Ms. Fults recovered a judgment over and

against Nathan Henslee in the total amount of $144,938.97 on February 19,



PLAINTIFF'S ORIGINAL PETITION                                                PageS
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2015, a copy of which is attached hereto and incorporated herein for all intents

and purposes and marked as Exhibit "3." This judgment remains in full force

and effect and is final. It is not subject to appeal.

D.               Pursuit of Mr. Henslee and Allstate's Coverage

                 4.16 It is clear and beyond dispute that Allstate knew of the existence of

Ms. Fults' claim by virtue of the communications referenced above which Ms.

Fults had with Allstate. Yet, in complete disregard and breach of the duties it

owed Mr. Henslee to promptly, fairly, and completely resolve the claims and

disputes of Ms. Fults, Allstate failed and refused to do so, thereby breaching its

obligation to Mr. Nathan Henslee to settle the dispute by virtue of an insurance

policy he obtained with Allstate.

                 4.17 After obtaining the judgment and after the judgment became final,

and because Allstate had refused to honor its policy with Mr. Henslee by

defending him in the suit and paying Ms. Fults' claim, Ms. Fults, through the

unde·rsigned counsel, began to investigate the whereabouts of Nathan Henslee

in an attempt to collect on the judgment.

                 4.18 One of the valuable assets ofNathan Henslee and a property right

to which he was entitled, was his claim against Allstate for its failure and refusal



PLAINTIFF'S ORIGINAL PETITION                                                                                   Page 9
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          Case 4:17-cv-00824-Y Document 1-1 Filed 10/13/17                                                         Page 12 of 34 PageID 16



to defend him in Ms. Fults' suit and to settle the dispute within his policy limits,

duties which Allstate owed to Mr. Henslee under and by virtue of the policy of

insurance he had with Allstate.

                     4.18 The undersigned attorney eventually located and spoke to Mr.

Henslee. Mr. Henslee then agreed to assign to Ms. Fults, the claims which

existed in his favor against Allstate. A true and correct copy of such assignment

agreement is attached hereto, incorporated herein, and marked as Exhibit "4."

                     4.19 Allstate still refused to disclose to Ms. Fults the full extent of its

liability coverage with Mr. Henslee. That is, until Ms. Fults hired a lawyer and

the lawyer demanded, as the law would require, that such policy limits be

provided. To that end, Ms. Fults' legal counsel eventually determined there was

a $50,000 policy issued to Mr. Henslee. Therefore, the demand made by Ms.

Fults as set out above in ,-r V was well within the policy limits of the policy

issued to Mr. Henslee by Allstate, thereby making Allstate's liability under the

doctrine commonly known as the "Stowers Doctrine" complete and clear.




PLAINTIFF'S ORIGINAL PETITION                                                                                                      Page 10
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          Case 4:17-cv-00824-Y Document 1-1 Filed 10/13/17                                                         Page 13 of 34 PageID 17



                                                                                                              v.
                                       Ms. FULTS'                          CAUSES OF ACTION AGAINST ALLSTATE
                                                                         BY VIRTUE OF THE ASSIGNMENT

                    5.01 There can be no question that the demand made by Ms. Fults fell

completely within the bounds and descriptions of the coverage and that Allstate

breached the duty to pay Ms. Fults' claim, thereby exposing it to Stowers

Doctrine liability to Mr. Nathan Henslee. Therefore, by virtue ofthe facts set out

above, Allstate is liable to Ms. Fults for all of the damages the Court has

awarded her as a result of the accident, plus post-judgment interest, as set out in

the Final Judgment, as a matter of law. To be clear, Allstate is barred by law

from re-litigating Ms. Fults' claim against Mr. Henslee and the amounts and

damages are set, except that all post-judgment interest continues to accrue

thereon.

                    5.02 Allstate is liable to Ms. Fults by virtue of her assignment from

Nathan Henslee for the breach of its contract with its insured, Nathan Henslee,

and of its good faith and fair dealing duty owed to Nathan Henslee under the

policy.

                    5.03 Allstate is also liable for its violations of INSURANCE CODE art.

21.21 by virtue of its actions in this case and by virtue of the assignment to Ms.


PLAINTIFF'S ORIGINAL PETITION                                                                                                      Page 11
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   Case 4:17-cv-00824-Y Document 1-1 Filed 10/13/17    Page 14 of 34 PageID 18



Fults of the claims Nathan Henslee possesses against Allstate Insurance

Company by virtue of the breaches of those duties.

      WHEREFORE, PREMISES CONSIDERED, Ms. Fults prays that

Defendant be cited to appear and answer and that Ms. Fults have and recover

from Defendant damages and exemplary damages, together with pre-judgment

and post-judgment interest, attorneys' fees, and court costs; and for such other

and further relief to which Ms. Fults may be justly entitled.

                                     Respectfully submitted,

                                     KIRKMAN LAW FIRM, PLLC

                                     By: Is/William L. Kirlm'lan
                                         William L. Kirkman
                                         State Bar No. 11518700
                                         b iII k.@kirkmanJ a.wfirm .com
                                         Preston B. Sawyer
                                         State Bar No. 24102465
                                         prestons@kirkmanla.wfi rm.com
                                         201 Main Street, Suite 1160
                                         Fort Worth, Texas 76102
                                         Telephone: (817) 336-2800
                                         Facsimile: (81 7) 877-1863

                                     ATTORNEYS FOR PLAINTIFF,
                                     REBECCA ANN FULTS




PLAINTIFF'S ORIGINAL PETITION                                           Page 12
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                   EXHIBIT ''1''
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 ~S              Owner     I   Owner/Lessee                                   HENSLEE                           NATHAN
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                          Case 4:17-cv-00824-Y Document 1-1 Filed 10/13/17                                                                 Page 17 of 34 PageID 21
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     Form CR-3 11112010                          j Case ID 13-36620                                                 ITxDOT Crash ID                                                                             I                    Page~ of~
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Case 4:17-cv-00824-Y Document 1-1 Filed 10/13/17   Page 18 of 34 PageID 22




                   EXHIBIT ''2''
               Case 4:17-cv-00824-Y Document 1-1 Filed 10/13/17
                                                          AFFIDAVIT OF SERVICE Page 19 of 34 PageID 23

   State of TEXAS                                        County of TARRANT                                                 67TH JUDICIAL DISTRICT Court

   Case Number: 06727558814

                                                                                                                          1111111111111111111111111111111111111
   Plaintiff:                                                                                                                      FWT2014002952
   REBECCA ANN FULTS
   vs.
   Defendant:
   NATHAN HENSLEE

   For:
   MERIT COURT REPORTING-A VERITEXT COMPANY
   307 W . 7th Street
   Suite 1350
   Fort Worth , TX 76102

   Received these papers on the 26th day of November, 2014 at 11 :05 am to be served on NATHAN HENSLEE, 2712
   WESTFIELD AVENUE, FORT WORTH, TARRANT County, TX 76133 .

   I, Monty R. Crabb, being duly sworn, depose and say that on the 27th day of December, 2014 at 11:51 am, 1:

   delivered a true copy of the CIT AT ION AND ORIGINAL PETITION with the date of service endorsed thereon by
   me, to:

   NATHAN HENSLEE at the address of: 2712 WESTFIELD AVENUE, FORT WORTH, TARRANT County, TX
   76133, by

   INDIVIDUAL!-Y/PERSONALLY delivering to the above person , and informed said person of the contents therein ,
   in compliance with state statutes.



  I certify that I am over the age of 18, have no interest in the above action, and am authorized by written order of the
  court to serve citation and other notices . I have personal knowledge of the facts stated above and each is true and
  correct.




  Subscrib~d and Sworn ? .~~re me on the ~) day
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                                                                                           Monty R. Cra ~
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Case 4:17-cv-00824-Y Document 1-1 Filed 10/13/17                                          Page 20 of 34 PageID 24




                                                          CITATION


                                            Cause No. 067-275588-14

                                REBECCA ANN FULTS


                                                     vs.
                                NATHAN HENSLEE


                                               ISSUED

                              This 19th day of November, 2014

                                      Thomas A, Wilder
                                 Tarrant County District Clerk
                                       401 W BELKNAP
                                 FORT WORTH TX 76196-0402

                             By                  KIMBERLY KRUMLAND Deputy


                             WILLIAM L KIRKMAN
                             Attorney for: REBECCA ANN FULTS
                             Phone No. (817)336-2SOO
                             ADDRESS: 201 MAIN ST STE 1160

                                        FORT WORTH, TX 76102

                                        CIVIL LAW


                        11111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111
                         *06727558814000005*
                         SERVICE FEES NOT COLLECTED
                         BY TARRANT COUNTY DISTRICT CLERK
                         ORIGINAL
           Case 4:17-cv-00824-Y Document 1-1 Filed 10/13/17 Page 21 of 34 PageID 25
                                         THE STATE OF TEXAS                     ORIGINAL
                                 DISTRICT COURT, TARRANT COUNTY
                                                                  CITATION                             Cause No. 067-275588-14
                                             REBECCA ANN FULTS
                                                                    vs.
                                             NATHAN HENSLEE

 TO: NATHAN HENSLEE
                                                            2712 WESTFIELD AVE FORT WORTH, TX 76133-




You said DEFENDANT are hereby commanded to appear by filing a written answer to the PLAINTIFF'S ORIGINAL PETITION
at or before 10 o'clock A.M. of the Monday next after
the expiration of 20 days after the date of service hereof before the 67th District Court
,401 W BELKNAP, in and for Tarrant County, Texas, at the Courthouse in the City of Fort Worth, Tarrant County, Texas
said PLAINTIFF being


REBECCA ANN FULTS


Filed in said Court on November 19th, 2014 Against
NATHAN HENSLEE


For suit, said suit being numbered 067-275588-14 the nature of which demand is as shown on said
PLAINTIFF'S ORIGINAL PETITION          a copy of which accompanies this citation.




                                                                 WILLIAM L KIRKMAN
                                                   Attorney for REBECCA ANN FULTS Phone No. (817)336-2800
                                                   Address      201 MAIN ST STE 1160 FORT WORTH, TX 76102
           'l'homaa A . Wilder          , Clerk of the District Court of Tarrant County, Texas. Given under my hand and the seal
of said Court, at office in the City of Fort Worth,         this the


                                                             By


NOTICE: You have been sued. You may employ an attorney. If                                              a written answer with the
clerk who issued this citation by 10:00 AM. on the Monday next following the expiration of twenty days after you were
served this citation and petition, a default judgment may be taken against you.
            Thomas A. Wilder, Tarrant County District Clerk, 401 W BELKNAP, FORT WORTH TX 76196-0402

                                                              OFFICER'S RETURN
Received this Citation on the _ __            day of                                        at        o'clock _   M; and executed at
                                              within the county of _________________ , State of _ _ _ _ at _____ o'clock _M
on the              day of ------------------ ' _ _ by delivering to the within named (Def.):
defendant(s), a true copy of this Citation together with the accompanying copy of PLAINTIFF'S ORIGINAL PETITION
, having first endorsed on same the date of delivery.




               Authorized Person/Constable/Sheriff:
               County of                                  State of _ _ _ _ __
                                                                                 By --------------------------------- Deputy
Fees$ _ _ __
State of                         County of                                      (Must be verified if served outside the State of Texas)
Signed and sworn to by the said ------------------------------------ before me this _ _ day of
to certify which witness my hand and seal of office
(Seal)

                                                   County of ------------------- ' State of
                                                                    Case 4:17-cv-00824-Y Document 1-1 Filed 10/13/17   Page 22 of 34 PageID 26
                                 CITATION


                   Cause No. 067-275588-14

       REBECCA ANN FULTS


                             VS.

       NATHAN HENSLEE


                      ISSUED

     This 19th day of November, 2014

              Thomas A. Wilder
         Tarrant County District Clerk
               401 W BELKNAP
         FORT WORTH TX 76196-0402

     By                  KlMBERLY KRUMLAND Deputy


     WILLIAM L KIRKMAN
     Attorney for: REBECCA ANN FULTS
     Phone No. (817)336-2800
     ADDRESS: 201 MAIN ST STE 1160

               FORT WORTH, TX 76102

                CIVIL LAW


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 BY TARRANT COUNTY DISTRICT CLERK
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Case 4:17-cv-00824-Y Document 1-1 Filed 10/13/17   Page 23 of 34 PageID 27




                   EXHIBIT ''3''
        Case 4:17-cv-00824-Y Document 1-1 Filed 10/13/17                                         Page 24 of 34 PageID 28


                                                                          CAUSE NO. 067-275588
                                                                                                          cG
REBECCA ANN FULTS,                                                                  §.   IN THE DISTRICT COURT OF
                                                                                    §
                Plaintiff,                                                          §
                                                                                    §
v.                                                                                  §    TARRANT COUNTY, TEXAS
                                                                                    §
NATHAN HENSLEE,                                                                     §
                                                                                    §
                Defendant.                                                          §    67th JUDICIAL DISTRICT

                                                                              FINAL JUDGMENT

                On February 19, 2015, came on to be heard the above-styled and

numbered cause wherein Rebecca Ann Fults is Plaintiff and Nathan Henslee is

Defendant. The Plaintiff appeared in person and by and through her attorney of ·

record and announced ready for trial. Defendant, although duly and legally cited

to appear and answer, failed to appear and answer, and wholly made default.

                Citation was served according to law and returned to the Clerk, where it

remained on file for the time required by law. Defendant, by his default, has

admitted the allegations of Plaintiffs Petition.

                The Court, on good and sufficient evidence presented, finds as follows:

                As a proximate result of Defendant's actions as alleged in Plaintiff's

Original Petition, which Defendant has admitted, Plaintiff su fered and is                                                  ti'



FINAL JUDGMENT                                                                                                     Page 1
G:\Kirkm• o\JUUA\FILF.s\FULTS Y.lll:NSLEt.'\PLF.. \OINCS\FINALJUllCMENT.wpl
      Case 4:17-cv-00824-Y Document 1-1 Filed 10/13/17                          Page 25 of 34 PageID 29



entitled to recover from Defendant reasonable and necessary medical expenses

in the amount of$
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                                                16l I~S, ~ry;
             Plaintiff lost wages in the amount of$                     ·3 OOQ Q0which she is entitled
                                                                                 1



to recover from Defendant;

             Plaintiff endured pain and suffering for which she is entitled to recovery
           ,.C)t0 to0
$   :2J t            from Defendant;

             Plaintiff has suffered mental anguish constituting a substantial disruption

in her daily routine and amounting to more than mere worry, anxiety, vexation,
                                                                                               r    (}lt(J Ou
embarrassment, or anger for which she is entitled to recover $                              2:JI~         ·
from Defendant.

             Plaintiff is entitled to recover exemplary damages in the amount of

$ 9-~ _oO\J,"'
     l
    Plaintiff is entitled to recover prejudgment interest in the amount of



             IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED that

Plaintiff have and recover from Defendant the sum of$                                /LJlf/ G( 32?, ~Jth
post-judgment interest thereon at the rate of 5o/o per annum from the date of this

Judgment until paid, together with all costs of court on her behalf expended.



FINAL JUDGMENT
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                                                                                                      Page2
-.
             Case 4:17-cv-00824-Y Document 1-1 Filed 10/13/17                               Page 26 of 34 PageID 30



                    Plaintiff is allowed such writs and processes as may be necessary in the

     enforcement and collection of this Judgment.

                     SIGNED this                               /7 'day of February, 2015.




     FINAL JUDGMENT                                                                                           Page3
     GI\Kirt...UUUA\F'ILL\'\YliLTSv.lltHR£E\PLF.ADING~'\FilfALJUDCl\tFNT."pl
Case 4:17-cv-00824-Y Document 1-1 Filed 10/13/17   Page 27 of 34 PageID 31




                   EXHIBIT ''4''
 Case 4:17-cv-00824-Y Document 1-1 Filed 10/13/17        Page 28 of 34 PageID 32




                       ASSIGNMENT AGREEMENT

     This Agreement is made by and between Nathan Henslee, who currently

resides at 205 West Southern Avenue, Saginaw, Texas 76179, and Ms. Rebecca

Fults, who address is 4740 Ardenwood Drive, Fort Worth, Texas 76123.

     WHEREAS, prior to April16, 2013, Allstate County Mutual Insurance

Company issued a policy of insurance to Nathan Henslee under which Nathan

Henslee was insured;

     WHEREAS, on April16, 2013, while the aforementioned policy was in

full force and effect, and while Mr. Henslee was operating an insured vehicle

under the above-referenced policy, that being a Chrysler PT Cruiser station

wagon, license plate #DG6G795, Henslee crashed into a car driven by Rebecca

Fults, that being a Toyota Corolla, license plate #JJN469, all as more fully

detailed in the attached Police Report issued with regard to the accident;

      WHEREAS, Ms. Fults sustained injuries and damages as a result of the

accident;

      WHEREAS, the accident report determined that Mr. Henslee was at fault

in the accident;
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     WHEREAS, the accident report reflected that Nathan Henslee was

covered by insurance at the time of the accident with Allstate County Mutual

Insurance Company;

     WHEREAS, as a result of the accident and the injuries sustained by Ms.

Fults and the insurance coverage afforded to Mr. Henslee by Allstate County

Mutual Insurance Company, Rebecca Fults entered into negotiations with

Allstate in an attempt to settle her dispute, but was unable to do so;

      WHEREAS, Allstate communicated with Ms. Fults with regard to Ms.

Fults' claim, indicating that it issued a claim number 0283013968QMH with

regard to the claim made against Allstate by Rebecca Fults;

      WHEREAS, Ms. Fults instituted suit against Nathan Henslee in the

District Court of Tarrant County, Texas, on November 19, 2014;

      WHEREAS, on February 19, 2015, Ms. Fults obtained a Default

Judgment against Nathan Henslee in the amount of $144,938.97, with post-

judgment interest running thereon at five (5%) percent per annum from the date

of the Judgment until paid, together with all costs of court on her behalf

expended;




                                                                         ·Page 2
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      WHEREAS, more than thirty (30) days has transpired since the Judgment

was obtained, such that it is final and non-appealable;

      WHEREAS, Nathan Henslee has represented to Ms. Fults that he is

financially incapable of satisfying the judgment but is desirous of assigning all

of his rights, title, and interest in and to the aforementioned insurance policy

with Allstate County Mutual Insurance Company to Ms. Fults so that Ms. Fults

shall possess all ofNathan Henslee's rights, title, and interest to said policy for

the purpose of pursuing recovery ofthejudgment from Allstate and any and all

other claims Nathan Henslee may have against Allstate as a result of the

aforementioned accident and Allstate's refusal to settle with Ms. Fults;

      NOW THEREFORE, for and in consideration of the aforementioned

premises, Nathan Henslee does hereby fully, completely, and without

reservation, assign any and all ofhis interest in and to the aforementioned policy

of insurance issued by Allstate County Mutual Insurance Company to Rebecca

Fults, such that Rebecca Fults shall be able to act for and on behalf of Nathan

Henslee in her own name to bring any action against Allstate County Mutual

Insurance Company as respects any legal rights Nathan Henslee has against

Allstate, such that Rebecca Fults shall step into the shoes of Nathan Henslee as



                                                                            Page3
  Case 4:17-cv-00824-Y Document 1-1 Filed 10/13/17        Page 31 of 34 PageID 35




the insured under the aforesaid Allstate insurance policy, in full and without

reservation.          _
                     t. r1 fl/~       .   .
      SIGNED this·~ day of Aprtl, 2017.




WI'rNESS:
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 .. onna Bakouris


                                          Rebecca Fults




                                                                        Page4
                                                                                                                                             FILED
                               096-293963-17
    Case 4:17-cv-00824-Y Document 1-1 Filed 10/13/17                                                Page 32 of 34 PageID 36 COUNTY
                                                                                                                      TARRANT
                                                                                                                                10/2/2017 2:40PM
                                                                                                                                THOMAS A WILDER
                                                     CONSTABLE'S RETURN                                                           DISTRICT CLERK


                                        REBECCA ANN FULTS VS. ALlSTATE COUNTY MUTUAL INSURANCE
StyreofCase: --------------------~OO~M~P.~~~N~Y____________________

 Came into hand, this                     18          day of               SEPTEMBER                  ,20   17      AT         11:31
o'clock     _!:"A_ M.    by executing and delivering a --=~CIT.~:AC::TII~'O~N~---                                     issued out of the
                                                            096-293963-
state of --~1ie!!:E"XA~~S:..__ _    under cause  number:        17                                                          __!?__ day
     _ ___:S~'E.:!"P7i:!.!''E.'!:"M.~'B~E.O!:'R!-_ , 20 ....!.!._ ,   at            9:01                o'clock    A       M., to:
D                                                                     personally delivered/served true and correct copies of same.
OTHER NOTES:

D __________________                                                              pursuant to Rule 106/Rule 536, to an occupant:
                                                                                                            over the age of 16 years.
D_____________________                                                      pursuant to Rule 106/Rule 536, by securely attaching
and/or affixing to the                                                                          of the defendant's last known place of
D  business       D abode.
D         ALLSTATE COUNTY MUTUAL INSURANCE COMPANY                                                D   A Corporation     D   A Business


Name:                        CT CORPORATION                                 0   President   0    Vice-President~ Registered Agent
~   By delivering to the defendant's registered agent for service, C. T. CORPORATION SYSTEM,
through Their authorized agent to accept service: ANTOINETTE WILUAMS SOP INTAKE
ASSOCIATE
at 1999 BRYAN ST STE 900 Dallas, Texas 75201.
Service Address:                                        1999 BRYAN ST STE 900 DALLAS TEXAS 75201

0    RETURNED TO COURT AND/OR PLAINTIFF FOR THE FOLLOWING REASONS:




                80.00
Service Fees: $ _ _ __
                                                                                     hn          1 "5 DEPUTY CONSTABLE
                                                                                TRACEY L GULLEY, CONSTABLE
COUNTY OF DALLAS                                                                DALLAS    UNTY PRECINCT 1
STATE OF TEXAS



SIGNEO AND SWORN BY SAID                                                                           ,before me, this
Day Of                                               20 _ _ , to certify which, witness my hand and seal of office.



                                                                            NOTARY PUBLIC-IN AND FOR THE STATE OF TEXAS
      Case 4:17-cv-00824-Y Document 1-1 Filed 10/13/17                                  Page 33 of 34 PageID 37
            Receipt#     9fLgfl7
            ChecJd!       loQ2--:                     THE STATE OF TEXAS
                                                                                                                                                 KDO
                                          DISTRICT COURT, TARRANT COUNTY
                                                           CITATION                               Cause No. 096-293963-17
                                      REBECCA ANN FULTS
                                                               vs.
                                                                                                       065106
                              ALLSTATE COUNTY MUTUAL INSURANCE COMPANY

 TO: ALLSTATE COUNTY MUTUAL INSURANCE COMPANY
                                                      B/S REG AOENT~CT CORPORATION SYSTEM 1999 BRYAN ST S'I'E 900 OALIAS, TIC 75201-3




You said DEFENDANT are hereby commanded to appear by filing a written answer to the PLAINTIFF'S ORIGINAL P£TITION
at or before 10 o'clock A.M. of the Monday next after
the expiration of 20 days after the date of service hereof before the 96th District Court
,100 N CALHOON, in snd for Tarrant County, Te)Cas, at the Courthouse in the City of Fort Worth, 'rarrant County, Texas
said PLAINTIFF being
                                                                                                                                                 ("'")
REBECCA ANN FULTS
                                                                                                                                        '>
                                                                                                                       ~   .'
Filed in said Court on August lith, 2017 Against                                                                                         )
                                                                                                                                             J
                                                                                                                                                 ~'
                                                                                                                                                      '
ALLSTATE COmiTY Mt11UAL INSURANCE COMPANY
                                                                                                                                             '
For suit, said suit being numbered 095•293963•17 the nature of which demand iS as shown on said                        ..      ,        .)

                                                                                                                    :::..._/
PLAINTIFF'S ORIGINAL PETITION a copy of which accompanies this citation.


                                                                                                                                             )
                                                           WILLIAM L KIRKMAN
                                             Attorney for REBECCA ANN FULTS Phone No. (817)336·2800
                                             Address      201 MAIN ST STE 1160 FORT WORTH. TX 76102
        Th~as   A.   Wilder       , Clerk of the District Court of   Tarran~   County, Texas. Given under    ~y        hand        and the seal
of said Court, at office in the City of Fort Worth,   t~ie
                                                         2lst~Au
                                                              , 201"1..                                       ···;~~~.
                                                                                                             /.~oil. . ._-..· .         ACERTIFIEOCOPY
                                                                                                            :""#                   "\   ATTEST: Gl!/2112017
                                                                                                            i!~                    ~l THOMASA. WILDER
                                                                                                            i~             ,        i'\R!_VItiCTCI..eRK
                                                                     (7(_jL-'-":_::,::-=:_::-"c_-----'\                                 T;\f!RAHTCOUNTY, TEXAS
                                                                                LISA LETBETl'ER                    ..........,.•
                                                                                                             *<,,,..                    BY-IM Lka lelbetter

NOTICE: You have been sued. You may employ an attorney. If you or your attorney do not file a written answer with the
clerk who issued this citation by 10:00 AM. on the Monday next following the expiration of twenty days after you were
served this citation and petition, a default jud~ent may be taken against you.
         Thomas A. Wilder. Tarrant County District Clerk, 100 N CALHOUN. FORT WORTH TX 76196-0402

                                    OFFICER'S RETURN *09629396317000006*
:eceived this Citation on t h e - - - day Of         SEP   1   a 2D17          • --at    ---o'clock _M.; and executed at
- - - - - - - - - - - - - - - - - within the county of - - - - - - - - • State of - - - - at - - - - o'clock _M
on the - - - - day of - - - - - - - - - · _ _ by delivering to the within na~d (Def.):
defendant(s). a tru~ copy of this Citation together with the aeco~anying copy of PLAINTIFF'S ORIGINAL PETITION
, having first endors~d on same the date of d~livery,

                                                      TRACEY GULLEY, CONSTABLE
            ~uthorized   Person/Constable/Sheriff:    DAllAS COUNTY PRECINCT 1
          County of - - - - - - - - - - - - - Stat~ of _ _ _ __           By - - - - - - - - - - - - - - - Deputy
Fees$_ _ __

State of - - - - - - - County of - - - - - - - - - - - - - - - (Must be verified if served outsid~ the State of                                       T~xas)

Signed and swcrn to by the said - - - - - - - - - - - - - - - - - before me this _ _ day of - - - - • _ _
to certify which vitness my hand and seal of office
{Seal)
                                             COunty of - - - - - - - - - - · • State of - - - - - - - - -
                             Case 4:17-cv-00824-Y Document 1-1 Filed 10/13/17   Page 34 of 34 PageID 38
                CITATION


        Cause No. 096-293963-17
  REBECCA ANN FULTS

             vs.
  ALLSTATE COUNTY MUTUAL
  INSURANCE COMPANY
           ISSUED
 This 21St day of August, 2017

        Thomas A. Wilder
   Tarrant County District Clerk
         100 N CALHOUN
   FORT WORTH TX 76196-0402

 By          LISA LETBEITER Deputy


 WILLIAM L KIRKMAN
 Attorney for: REBECCA ANN FULTS
 Phone No. (817)336·2800
 ADDRESS: 201 MAIN ST STE 1160

      FORT WORTH, TX 76102

      CIVIL LAW



•09629396317000006•
SERVICE FEES NOT COLLECTED
BY TARRANT COUNTY DISTRICT CLERK
ORIGINAL
